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                             IN THE UNITED STATE DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     LAFAYETTE DIVISION

MYRON MOREHOUSE and                                       )
AMY MOREHOUSE,                                            )
                                                          )
      Plaintiff,                                          )
                                                          )
vs.                                                       )
                                                          )
FLUOR ENTERPRISES, INC.,                                  )
ECOA INDUSTRIAL PRODUCTS, INC., and                       )
ALCOA, INC.,                                              )
                                                          )
      Defendants.                                         )


             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL



       Plaintiffs state as follows:

                                             I. Jurisdiction

       1.          The Plaintiffs Myron Morehouse and Amy Morehouse are husband and wife and are

residents of Indiana.

       2.          The Defendant Fluor Enterprises, Inc. (“Fluor”) is a corporation incorporated under

the laws of California with its principal place of business in Texas.

       3.          The Defendant ECOA Industrial Products, Inc. (“ECOA”) is a corporation

incorporated under the laws of Florida with its principal place of business in Florida.

       4.          The Defendant Alcoa, Inc. (“Alcoa”) is a corporation incorporated under the laws of

Pennsylvania with its principal place of business in New York.

       5.          The amount in controversy, without interest and costs, exceeds the sum or value

specified by 28 U.S.C. § 1332.
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                                          II. Cause of Action

          6.    At all relevant times, Defendant Alcoa contracted with Defendant Fluor to open an

Aluminum-Lithium Aerospace Plant (“Aerospace Plant Project”) in Lafayette, Indiana.

          7.    At all relevant times, Plaintiff Myron Morehouse (“Myron”) was an employee of

Industrial Contractors, Inc. (“ICI”).

          8.    At all relevant times, Myron worked on the Aerospace Plant Project as an employee

of ICI.

          9.    On or around July 8, 2014 while working on the north pit of the Aerospace Plant

Project at Alcoa, Myron was using a wired control box to operate a scissor lift (“wired control box”

and “scissor lift”, respectively) that was installed on rails attempting to adjust the stops on the rails.

          10.   The wired control box used to operate the scissor lift had four buttons: RIGHT,

LEFT, DOWN, UP.

          11.   There was an inductor on top of the scissor lift and a hoist picking beam was

attached to the top of the inductor.

          12.   Myron pressed one of the buttons on the wired control box to move the scissor lift

laterally to the west, but while the scissor lift was moving the button on wired control box became

stuck in the “on” position.

          13.   The wired control box did not have a STOP button or an emergency-stop button or

other emergency-stop mechanism.

          14.   As a result of the stuck button and the absence of any stop button or emergency-stop

mechanism, Myron was not able to stop the scissor lift from moving.

          15.   Because the scissor lift did not stop moving laterally, the hoist picking beam

attached to the top of the inductor collided with the crucible, shearing off the bolts attaching the




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picking beam to the inductor, causing the picking beam to fall and hit Myron below, causing serious

injuries.

         16.   At all relevant times, the scissor lift and wired control box was owned by Defendant

Alcoa.

         17.   The scissor lift and wired control box was designed by Defendant ECOA.

         18.   The scissor lift and wired control box was manufactured by Defendant ECOA.

         19.   The scissor lift and wired control box was placed into the stream of commerce by

Defendant ECOA.

         20.   The scissor lift and wired control box was defective and unreasonably dangerous in

its design and/or manufacturing.

         21.   At all relevant times, Defendant Fluor had a duty to maintain a safe workplace and a

duty to make the facility reasonably safe for business invitees.

         22.   At all relevant times, Defendant Alcoa had a duty to maintain a safe workplace and a

duty to make the facility reasonably safe for business invitees.

         23.   Defendant Fluor failed to maintain a safe workplace and failed to keep the facility in

a reasonably safe condition for business invitees.

         24.   Defendant Alcoa failed to maintain a safe workplace and failed to keep the facility in

a reasonably safe condition for business invitees.

         25.   As a direct and proximate result of the careless and negligent acts and omissions of

the Defendants, each of them, Myron has sustained serious and permanent injuries. He has incurred

medical expenses and incidental expenses and he will incur additional medical expenses and

incidental expenses in the future as a result of his injuries. He has lost wages and has suffered

impairment to his earning capacity as a result of his injuries. He has experienced pain, suffering and




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mental anguish, and he will continue to experience pain, suffering and mental anguish in the future

as a result of his injuries. His injuries are permanent in nature and affect his ability to function as a

whole person.

        26.     At all times relevant hereto, the Plaintiff Amy Morehouse was and is the spouse of

the Plaintiff Myron Morehouse.

        27.     As a direct and proximate result of the carelessness and negligence of the

Defendants, each of them, the Plaintiff Amy Morehouse has sustained damages. She has lost

income and incurred incidental and miscellaneous expenses as a result of the injuries to her husband

and she may lose more income and incur incidental and miscellaneous expenses in the future as a

result. She has lost the value of his services and consortium, and she may lose the value of some of

his services and consortium in the future.

        WHEREFORE, the Plaintiffs, Myron and Amy Morehouse pray for damages against the

Defendants in an amount which will fully and fairly compensate him for the damages sustained, for

costs of this action, for pre-judgment interest and for all just and proper relief in the premises.

                                      III. Demand for Jury Trial

        Plaintiffs request a trial by jury.

                                                 Respectfully submitted,


                                                 ______________________________________
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